 

Case ZAP e228-I8C DOGuINR IZ Pec MeA/44 PRewe dl citqhOrReaet 2217
Sygnatura akt i Kp 412/04 :

POSTANOWIENIE

oO zastosowaniu tymczasowego aresztowania W postepowaniu przygotowawcezym

Dnia 12 marca 2004 roku

Sad Rejonowy W Suwatkach - li Wydziat Karny .
Przewodniczacy Asesor Sadu Rejonowego Tomasz Kisiel
Protokolant Anna Makarska
przy udziale Prokuratora Jézefa Murawko
na posiedzeniu w dniu 12 marca 2004 roku |
na wniosek Prokuratora Prokuratury Okregowej w Suwatkach z dnia 8 marca 2004 roku
w sprawie - sygnatura akt Ds.37/96
w przedmiocie zastosowania tymczasowego aresztowania w stosunku do
WIESLAWA JANA KOZLOWSKIEGO

podejrzanego 0 to, ze:
w dniu 27 lipca 1995 roku bedac funkcjonariuszem policji na terenie Komendy
Rejonowej Policji w Augustowie W ezasie przyjmowania jako dowodéw rzeczowych
z samochodu marki STAR o numerze rejestracyjnym TYC 3541 fadunku zatrzymanych
i zabezpieczonych do postepowania przygotowawczego papierosOw pochodzacych
Zz przemytu, wspolnie i W porozumieniu z innymi osobami, w celu osiagniecia korzySci
majatkowej zabrat w celu przywiaszezenia co najmniej 1000 kartonéw po 10 paczek
w kazdym papierosow marki ,, Golden American”, ,HB" i innych wartosci co najmnie}
28.000,00 ziotych, a nastepnie pomdgt wywiezé te papierosy z terenu Komendy
Rejonowej w Augustowie i odprzedac Janowi Haraburda za kwote 40.000,00 ztotych,
ezym dziatat na szkode Skarbu Panstwa.

to jest o przestepstwo okreglone w artykule 278 paragraf 1 kodeksu karnego

ll. w dniu 3 wrzesnia 1995roku bedac funkcjonariuszem policji na terenie Komendy
rejonowej Policji w Augustowie w ozasie przyjmowania jako dowodéw rzeczowych
z samochodu marki STAR o numerze rejestracyjnym SWL 7916 tadunku zatrzymanych

i zabezpieczonych do postepowania przygotowawczego papierosow pochodzacych

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z oryginalem
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z przemytu wspélnie i w porozumieniu z innymi osobami, w celu osiagniecia korzySci
majatkowe| zabrat w celu przywlaszczenia co najmniej 1000 kartonéw po 10 paczek,
w kazdym papierosOw marki ,Golden American", ,Malboro", ,HB"i innych, wartosci co
najmniej 28.000,00 ztotych, a nastepnie pomdgt wywiezé te papierosy Z terenu
Komendy Rejonowej Policji w Augustowie | ddsprzedaé janowi Haraburda za kwote
okoto 20.000, 00 ztotych otrzymana Ww markach niemieckich i ziotowkach, czym dziatat
na szkode Skarbu Panstwa

to jest o przestepstwo okreglone w artykule 278 paragraf 1 kodeksu karnego

na podstawie artykutu 249 kodeksu postepowania karnego, artykutu 258 paragraf

4 punkt 1 kodeksu postepowania karnego, artykutu 263 paragraf 1 kodeksu

postepowania karnego,
postanawia

zastosowacé wobec WIESLAWA JANA KOZLOWSKIEGO syna Frydrycha i Haliny,

urodzony 9 listopada 4966 roku w Rajgrodzie $rodek zapobiegawczy W postaci

 

 

tymezasowego aresztowania na okres 14 dni od chwili zatrzymania

UZASADNIENIE

Wiestaw Jan Koztowski podejrzany jest © popeinienie czynu Z artykutu
278 paragraf 4 kodeksu karnego. Zebrany Ww sprawie materiat dowodowy,
w szczegdlnosci w postaci zeznan $wiadkow oraz dowodow z dokumentow, w wysokim
stopniu uprawdopodobnit, iz-dopuscit sie on zarzucanych mu przestepstw.

Podejrzany nie stawia sie na wezwania Prokuratury. Z informacji uzyskanych
przez Policje. wynika, ze wymieniony nie przebywa w miejscu statego zamieszkania
i opuscit terytorium Polski to jest od pewnego czasu przebywa za granice. Tym samym
zdaniem Sadu wyzej wymieniony uniemozliwia zakonczenie postepowania.

W tych okolicznosciach zachodzi takze uzasadniona obawa, iz podejrzany
ukrywa sie przed organami Scigania.

Nadmienié nalezy, iz prokurator Wojewodzki w Suwatkach postanowieniem

7 dnia 05 marca 1996 roku w sprawie Ds.77/96 zastosowat wobec wyzej wymienionego

 

tymczasowe aresztowanie na okres 7 dni od zatrzymania, jednakze postanowieniem

Za zgodnose
z oryginatem
Swiadcze

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z dnia 26 sierpnia 2003 roku zmieniono postawione zarzuty.
Majac na uwadze powyzsze - celem zabezpieczenia prawidtowego toku
postepowania w sprawie - nalezato orzec jak we wstepie.

Asesor Sadu Rejonowego
|- Tomasz Kisiel

Pouczenie
Na powyzsze postanowienie stuzy podejrzanemu zazalenie do Sadu Okregowego
w Suwatkach w terminie zawitym 7dni od daty dostarczenia odpisu postanowienia. Wniesienie

 

zazalenia po tym terminie jest bezskuteczne (artykut 122 i 460 kodeksu postepowania karnego).

Zazalenie sktada sie za posrednictwem Sadu, ktéry wydat postanowienie. Podejrzany
moze sktadaé w kazdym czasie wniosek o uchylenie lub zmiane $rodka zapobiegawczego do
Prokuratora Prokuratury, do dyspozycji ktérej pozostaje (artykut 254 kodeksu postepowania
karnego)

Potwierdzenie odbioru odpisu postanowienia

 

Otrzymatem odpis postanowienia o tymczasowym aresztowaniu wraz Z pouczeniem
i zostatem powiadomiony o_ tresci wydanych zarzadze i pouczeniu w dniu
godz.

 

 

data i podpis podejrzanego

 

 

 

Pieczeé podiuzna o tresci: Pieczeé okragla z godtem paristwowym o tresci w otoku:
POSTANOWIENIE SAD REJONOWY * W SUWALKACH *
JEST WYKONALNE
Pieczeé podtuzna o tresci:
Za zgodnosé z oryginatem swiadcze.
Inspektor
Anna Makarska
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Pieczatka podtuzna o tresci:

Prokuratura Okregowa

ulica Generata K. Putaskiego 26

46-400 Suwatki
telefon 087 567-75-71

Sygnatura akt Ds. 37/96
POSTANOWIENIE
o poszukiwaniu podejrzanego listem gonczym
: Dnia 23 marca 2004 roku

 

Jézef Murawko - Prokurator Prokuratury Okregowej w Suwatkach

w sprawie przeciwko WIESLAWOWI JANOW! KOZLOWSKIEMU

podejrzanemu o przestepstwo z artykutu 278 paragraf 1 kodeksu karnego i 278 paragraf 1
kodeksu karnego ,

- na podstawie artykutu 279 paragraf 1 kodeksu postepowania karnego
postanowil:
zarzadzié poszukiwanie listem gonczym ukrywajacego sie podejrzanego WIESLAWA JANA
KOZLOWSKIEGO, co do ktérego wydano w dniu 12 marca 2004 roku postanowienie
o tymczasowym aresztowaniu.

UZASADNIENIE
Wiestaw Jan Kozlowski podejrzany jest o czyn z artykutu 278 paragraf 1 kodeksu
karnego, 278 paragraf 1 kodeksu karnego. W trakcie prowadzonego przeciwko wymienionemu ~
postepowania przygotowawezego ustalono, iz nie przebywa on w miejscu swego zamieszkania,
najprawdopodobniej wyjechat za granice kraju i ukrywa sie przed organami wymiaru
sprawiedliwosci.
Majac na uwadze powyzsze, nalezato rozestaé za podejrzanym listy gonicze.

Pieczatka o tresci:
; NACZELNIK
WYDZIALU SLEDCZEGO
PROKURATURY OKREGOWEJ W SUWALKACH
JOZEF MURAWKO
/-1 podpis nieczytelny
Pieczeé okragta z godiem paristwowym i napisem w otoku:
Prokuratura Okregowa w Suwatkach

Zarzadzenie:
Sporzadzié list goniczy i przestaé go do Komendy Powiatowej Policji w Augustowie

Za zgzodnose
z orpginatem
Swiadczg
Prokutatr Prokunat.
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 Pieczatka o tresci:

Prokuratura Okregowa

ulica Generata K. Putaskiego 26
46-400 Suwatki

telefon (087) 567-75-71

Sygnatura akt Ds.37/96 Suwatki, dnia_ 23 marca 2004 roku

a

KOMENDA POWIATOWA POLICJI
W AUGUSTOWIE

LIST GONCZY

Prokurator Okregowy w Suwatkach stosownie do postanowienia z dnia 23 marca 2004 roku

 

wydanego na podstawie artykutu 279 paragraf 1 kodeksu postepowania karnego w sprawie
Ds.37/96

|. Zarzadza poszukiwanie listem gofczym nizej wymienionego podejrzanego :
4. Nazwisko i imiona KOZLOWSKI WIESLAW JAN
2. Pseudonim - brak danych

 

3. {mie oj ca - Frydrych
{mie i nazwisko panieniskie matki Halina z domu Sztejter

Data i miejsce urodzenia 1966 - 11 - 09 Rajgréd

Ostatnie miejsce zamieszkania Augustéw, ulica Srodmiescie 28/23
Ostatnie miejsce pracy - Komenda Rejonowa Policji w Augustowie
Adres rodzicéw lub rodziny Augustow, ulica Srédmiescie 28/23
Zawéd - technik rolnik
Rysopis - brak danych

oO ONrnNaa ss

10. Krétki opis czynu przestepnego zarzucanego poszukiwanemu_ oraz kwalifikacja prawna -
278 paragraf 1 kodeksu karnego, 278 paragraf 1 kodeksu karnego

11,Data i sygnatura postanowienia o tymczasowym aresztowaniu - 12 marca 2004 roku
Il Kp.112/04

42. Rozpowszechnianie listu goficzego nastapi poprzez

Za zgodnosé
z oryginatem
Swiadeze

 

 
 

Prokiwatet Prokuratury Okredey

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Wzywa sie kazdego, kto zna miejsce pobytu poszukiwanego, do zawiadomienia o tym
najblizsze] jednostki Policji lub prokuratora (artykut 280 paragraf 1 punkt 4 kodeksu
postepowania karnego).

Ostrzega sie, ze za ukrywanie poszukiwanego lub dopomaganie mu w ucieczce grozi
kara pozbawienia wolnogci do lat 5 (artykut 239 paragraf 1 kodeksu karnego). Za ujecie lub
przyezynienie sie do ujecia poszukiwanego wyznaczono nagrode w wysokoésci

ztotych

Udziela sie zapewnienia o utrzymaniu tajemnicy co do osoby informujace} (artykut 280
paragraf 2 kodeksu postepowania karnego). ,

Zataczniki:
1. Odpis postanowienia o tymcezasowym aresztowaniu
2. Nakaz przyjecia do najblizszego aresztu §ledezego.

Pieczeé okragta z godiem panistwowym i napisem w otoku:
Prokuratura Okregowa w Suwatkach

Pieczatka o tresci:
NACZELNIK
WYDZIALU SLEDCZEGO
PROKURATURY OKREGOWEJ W SUWALKACH
JOZEF MURAWKO
/-I podpis nieczytelny
’ 23.03.2004 rok

Za zgodnose
z oryguralem
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KOZLOWSKI WIESLAW JAN

syn Frydrycha i Haliny z domu Sztejter,
urodzony 09.11.1966 roku

& PESEL: 66110907772

 

Zdjecie zeskanowane.

Podejrzany o popeinienie przestepstw z artykutu 278 paragraf 1 kodeksu karnego

Za zgodnosé
z orpginater’

Praauygtor Prokuratiury C .
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WYCIAG Z KODEKSU KARNEGO

USTAWA
z dnia 6 czerwca 1997 roku
Kodeks karny.

(Dziennik Ustaw z dnia 2 sierpnia 1997 roku)

 

Artykut 101. Paragraf 1. Karalnosé przestepstwa ustaje, jezeli od czasu jego popeinienia uptyneto
lat: | ,

1) 30 - gdy czyn stanowi zbrodnie zabdjstwa,

2) 20 - gdy czyn stanowi inna zbrodnie,

2a) 15 - gdy czyn stanowi wystepek zagrozony kara pozbawienia wolnosci przekraczajaca 5 lat,

3) 10 - gdy czyn stanowi wystepek zagrozony kara pozbawienia wolnosci przekraczajaca 3 lata,

4) 5 - gdy chodzi o pozostate wystepki.

 

 

Paragraf 2. Karalnos¢ przestepstwa Sciganego z oskarzenia prywatnego ustaje z uptywem roku od.
czasu, gdy pokrzywdzony dowiedziat sie 0 osobie sprawcy przestepstwa, nie pdzniej jednak niz
z uptywem 3 lat od czasu jego popeinienia.

Paragraf 3. W wypadkach przewidzianych w paragrafie 1 lub 2, jezeli dokonanie przestepstwa
zalezy od nastapienia okreSlonego w ustawie skutku, bieg przedawnienia rozpoczyna sie od czasu,

gdy skutek nastapit.

Artykut 102. Jezeli w okresie przewidzianym w artykule 101 wszczgto postepowanie przeciwko
osobie, karalnogé popelnionego przez nia przestepstwa okreSlonego w paragrafie 1 punkt 1-3

ustaje z uptywem 10 lat, a w pozostatych wypadkach - z uptywem 5 lat od zakonczenia tego okresu.

 

Artykut 103. Paragraf 1.Nie mozna wykona¢ kary, jezeli od uprawomocnienia sie wyroku
skazujacego uptyneto lat: |

1) 30 - wrazie skazania na kare pozbawienia wolnosci przekraczajqcq 5 lat albo kare surowsza,

2) 15 - wrazie skazania na kare pozbawienia wolnosci nie przekraczajacq 5 lat,

3) 10 - wrazie skazania na inng kare.

Za zgodnosé
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Prokurs Seatac

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WYCIAG Z KODEKSU KARNEGO

USTAWA
z dnia 6 czerwea 1997 roku
Kodeks karny.
(Dziennik Ustaw z dnia 2 sierpnia 1997 roku)

Artykut 101. Paragraf 1. KaralnoS¢ przestepstwa ustaje, jezeli od czasu jego popelnienia uptyneto
lat:

1) 30 - gdy czyn stanowi zbrodnie zabdjstwa,

2) 20 - gdy czyn stanowi inna zbrodnie,

2a) 15 - gdy czyn stanowi wystepek zagrozony kara pozbawienia wolnosci przekraczajacq 5 lat,

3) 10 - gdy czyn stanowi wystepek zagrozony kara pozbawienia wolnosci przekraczajqca 3 lata,

4) 5 - gdy chodzi o pozostate wystepki. ,

Paragraf 2. Karalnos¢ przestepstwa éciganego z oskarzenia prywatnego ustaje z uptywem roku od
czasu, gdy pokrzywdzony dowiedziat sie o osobie sprawcy przestepstwa, nie pdzniej jednak niz
z uptywem 3 lat od czasu jego popeinienia.

Paragraf 3. W wypadkach przewidzianych w paragrafie 1 lub 2, jezeli dokonanie przestepstwa
zalezy od nastapienia okreglonego w ustawie skutku, bieg przedawnienia rozpoczyna sie od czasu,

gdy skutek nastapit.

Artykut 102. Jezeli w okresie przewidzianym w artykule 101 wszczeto postepowanie przeciwko
osobie, karalnos¢ popelnionego przez nig przestepstwa okreSlonego w paragrafie 1 punkt 1-3
ustaje z uptywem 10 lat, aw pozostatych wypadkach - z uptywem 5 lat od zakonczenia tego okresu.

Artykut 103. Paragraf 1. Nie mozna wykonaé kary, jezeli od uprawomocnienia si¢ wyroku
skazujacego uptyneto lat:

1) 30 - w razie skazania na kare pozbawienia wolnoéci przekraczajacq 5 lat albo kare surowsza,

2) 15 - wrazie skazania na kare pozbawienia wolnosci nie przekraczajaca 5 lat,

3) 10 - w razie skazania na inng kare.

Za zgodnose
z oryginalen:
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Prokurat Saaatyach

 
 

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' paragraf Z. Przepis paragraful punkt 3 stosuje sie odpowiednio do srodkéw karnych
| wymienionych w artykule 39 punkty 1-4 oraz 6 i 7; przepis paragrafu 1 punkt 2 stosuje sig

 

odpowiednio do $rodka karnego wymienionego w artykule 39 punkt 5.

Artykut 104. paragraf 1. Przedawnienie nie biegnie, jezeli przepis ustawy nie 2 pozwiala 1 na
wszczecie lub dalsze prowadzenie postepowania karnego; nie dotyczy to jednak braku wniosku
albo oskarzenia prywatnego.

paragraf 2. Przedawnienie w stosunku do przestepstw okreslonych w artykule 144, a 145
paragraf 2 lub 3, artykule 338 paragraf 1 lub 2 oraz w artykule 339 biegnie od chwili uczynienia

zados¢ obowiazkowi albo od chwili, w kt6érej na sprawcy obowiazek przestat cigzyé.

Artykui 105. Paragraf 1, Przepis6w artykulé6w 101-103 nie stosuje sig do zbrodni =o
pokojowi; ludzkoSci i przestepstw wojennych. bee

| Paragraf 2. Przepiséw artykuléw 101-103 nie stosuje sig rowniez 5 aK umyélnego przestepstwa:
zabéjstwa, ciezkiego uszkodzenia ciata, ciezkiego uszczerbku na zdrowiu lub pozbawienia wolnoSsci

; taczonego ze szczegédlnym udreczeniem, popelnionego przez funkcjonariusza publicznego

 

w zwiazku z pemnieniem obowiazkéw stuzbowych.

Artykut 278. Paragraf 1. Kto zabiera w celu przywtaszczenia cudzq rzecz ruchoma, podlega karze

pozbawienia wolnosci od 3 miesigcy do lat 5.

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